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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

MARIO LOJA,

         Plaintiff,
                                                     Case No. 1:17-cv-01251
                  v.
                                                     Judge: Honorable William T. Hart
MAIN STREET ACQUISITION CORP. AND
LAW OFFICE OF KEITH S. SHINDLER LTD.,
d/b/a SHINDLER & JOYCE,

         Defendants.

              MOTION FOR LEAVE TO APPEAR AS ADDITIONAL COUNSEL

         David M. Schultz and Louis J. Manetti, Jr., pursuant to Rule 83.17 of the Local Rules of

the U.S. District Court Northern District of Illinois, move that they be granted leave of court to

appear as additional counsel of record on behalf of Defendants, MAIN STREET ACQUISITION

CORP. AND LAW OFFICE OF KEITH S. SHINDLER LTD., d/b/a SHINDLER & JOYCE, and

in support state:

         1.       Keith Shindler appeared as counsel for both defendants. He is designated as Lead

Counsel but not as Trial Counsel.

         2.       The case was dismissed, appealed, and recently remanded and assigned to this

court.

         3.       The defendants would like David M. Schultz to appear as Additional counsel and

to be listed as Lead and Trial counsel, as provided in Local Rule 83.17.

         4.       Defendants request to add Louis J. Manetti, Jr. as additional counsel.




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        WHEREFORE, Defendants, MAIN STREET ACQUISITION CORP. AND LAW

OFFICE OF KEITH S. SHINDLER LTD., d/b/a SHINDLER & JOYCE, request that this court

allow David M. Schultz to appear as additional counsel and be listed as lead and trial counsel and

for and Louis J. Manetti, Jr. to be added as additional counsel.

                                                     Respectfully submitted,

                                                     HINSHAW & CULBERTSON LLP


                                                     By: s/ David M. Schultz
                                                         David M. Schultz

David M. Schultz
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                               CERTIFICATE OF SERVICE

        I, David M. Schultz, an attorney, certify that on November 27, 2018, caused to be served
a copy of the foregoing MOTION FOR LEAVE TO APPEAR AS ADDITIONAL
COUNSEL by: depositing same in the U.S. Mail box at 151 North Franklin Street, Chicago,
Illinois 60606, prior to 5:00 p.m., postage prepaid; messenger delivery; UPS; facsimile
transmitted from (312) 704-3001; email; or electronically via the Case Management/Electronic
Case Filing system (“ECF”), as indicated below.

       ECF
       Facsimile
       UPS
       U.S. Mail
       E-Mail
       Messenger Delivery


To: All Parties of Record



                                               s/ David M. Schultz
                                               David M. Schultz




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